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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


RENATA BARKER, ADMINISTRATRIX
OF THE ESTATE OF BRIAN K. BARKER,
DECEASED, AND IN HER OWN RIGHT                       CIVIL ACTION NO.: 2:21-cv-00223-
                                                     PD
                                 Plaintiffs
       vs.

TYSON FOODS, INC., THE ORIGINAL
PHILLY STEAK, INC. And ORIGINAL
PHILLY HOLDINGS, INC
                       Defendant



                             PLAINTIFF’S NOTICE OF APPEAL

       Notice is hereby given that Plaintiff, Renata Barker, Administratrix of the Estate of Brian

K. Barker, deceased, and in her own right (“Plaintiff”) hereby appeals to the United States Court

of Appeals for the Third Circuit from the final judgment entered by this Court in favor of

Defendants Tyson Foods, Inc., The Original Philly Steak, Inc., and Original Philly Holdings, Inc.

(“Defendants”) on December 6, 2021 (ECF 26) and all decisions subsumed in that judgment,

including, but not limited to, the following:

   1. The Court’s November 22, 2021 Memorandum denying Plaintiff’s Motion to Remand

       and related Order, including the Court’s concurrent dismissal of all claims against

       Defendant Original Philly Holdings, Inc. and Original Philly Steak, Inc. (ECF 21, 22);

       and

   2. The Court’s December 6, 2021 Memorandum granting Defendant Tyson Foods, Inc.’s

       motion to dismiss with prejudice and related Order (ECF 26, 27).
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Dated: January 5, 2021              /s/ Robert J. Mongeluzzi
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                                    Steven G. Wigrizer
                                    Jeffrey P. Goodman
                                    Jason S. Weiss
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